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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF OREGON

                              MEDFORD DIVISION



JOHN LEE MALAER,                             Case No. 1:20-CV-00049-CL

            Plaintiff,
                                             COUNTY DEFENDANTS’ AMENDED
v.                                           ANSWER TO SECOND AMENDED
                                             COMPLAINT
SGT. GEOFFREY KIRKPATRICK, OFC.
OMAR ESQUEDA, OFC. MICHAEL
WULFF, OFC. ASHLEE SCOTTOW,
CITY OF MEDFORD, JACKSON
COUNTY, NATHAN SICKLER, and
BRIAN KOLKEMO

            Defendants.
___________________________________




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       In response to the Second Amended Complaint (“Complaint”), Defendants Sheriff

Nathan Sickler, Brian Kolkemo, and Jackson County (“County Defendants”) respectfully admit,

deny, and allege as follows:

                                                 1.

       With regard to Section 1, Paragraphs 1, 2, 3, and 4, of the Complaint, the section entitled

“Introduction,” to the extent factual allegations are made therein that relate to County

Defendants, County Defendants deny the same. With regard to the remainder of Paragraph 1, to

the extent legal conclusions or factual allegations are made therein that relate to defendants other

than County Defendants, County Defendants are without knowledge or information sufficient to

form a belief as to the truth of the legal conclusions or remaining allegations and therefore deny

the same.

                                                 2.

       With regard to Paragraph 5 of the Complaint, the section entitled “Jurisdiction,” County

Defendants admit that this Court has jurisdiction over County Defendants to resolve the claims

raised in Plaintiff’s Complaint in accordance with 42 U.S.C. §1983, 28 U.S.C. § 1331, 28 U.S.C.

§ 1343, and 28 U.S.C. §1367.

       With regard to the remainder of Paragraph 5, to the extent any other legal conclusions or

factual allegations are made, County Defendants deny the same.

                                                 3.

       With regard to Paragraph 6, the section entitled “Venue,” County Defendants admit that

venue is appropriate in this Court as to County Defendants.


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       With regard to the remainder of Paragraph 6 of the Complaint, to the extent any other

legal conclusions or factual allegations are made, County Defendants deny the same.

                                                 4.

       With regard to Paragraphs 7, 8, 9, 10, 11, 12, 13, 14, and 15, the section entitled

“Parties,” County Defendants admit that:

       The City of Medford is a municipality in the State of Oregon, and a public entity;

       Jackson County is a county in Oregon, and a public entity;

       Jackson County receives federal financial assistance;

       Brian Kolkemo is employed by Jackson County in the Sheriff’s Department and was on

duty July 11, 2019;

       Nathan Sickler is the Jackson County Sheriff, and was the Jackson County Sheriff on

July 11, 2019.

       With regard to the remainder of Paragraphs 7, 8, 9, 10, 11, 12, 13, 14, and 15, to the

extent any other legal conclusions or factual allegations are made therein, County Defendants are

without information or knowledge sufficient to form a belief and therefore deny the same.

                                                 5.

       With regard to Paragraphs 16, 17, 18, 19, 20, 21, 22, 23, and 24, County Defendants are

without knowledge or information sufficient to form a belief as to the truth of the allegations.

Therefore, to the extent legal conclusions or factual allegations are made therein, County

Defendants deny the same.

                                                 6.

       With regard to Paragraph 25, County Defendants admit that Brian Kolkemo was


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employed by Jackson County in July 2019. With regard to the remainder of Paragraph 25 of the

Complaint, to the extent any other legal conclusions or factual allegations are made therein,

County Defendants are without information or knowledge sufficient to form a belief and

therefore deny the same.

                                                7.

       With regard to Paragraph 26, County Defendants admit that Nathan Sickler is and was

the Jackson County Sheriff in July 2019. With regard to the remainder of Paragraph 26 of the

Complaint, to the extent any other legal conclusions or factual allegations are made therein,

County Defendants are without information or knowledge sufficient to form a belief and

therefore deny the same.

                                                8.

       With regard to Paragraph 27, County Defendants admit.

                                                9.

       With regard to Paragraphs 28 through 106, County Defendants admit that on July 11,

2019, Mr. Malaer was arrested and taken to the Jackson County Jail (“Jail”) by Medford Police;

       With regard to the remainder of Paragraphs 28 through 106, to the extent any other legal

conclusions or factual allegations are made therein, County Defendants are without information

or knowledge sufficient to form a belief and therefore deny the same.

                                               10.

       With regard to Paragraphs 107 through 145, County Defendants admit that:

       Jackson County initiated an internal affairs investigation into conduct of Deputy

Kolkemo, and this investigation was conducted by a former Medford Police officer;


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        Sheriff Sickler contacted the Oregon State Police and requested a criminal investigation

into Deputy Kolkemo based on Deputy Kolkemo’s conduct toward Mr. Malaer in the Jail;

        Jackson County employees provided relevant information and documents to Oregon State

Police Sergeant Jeff Proulx to aid in his criminal investigation of Deputy Kolkemo’s conduct;

        Deputy Kolkemo told investigators that he physically contacted Plaintiff in the face on

two occasions in the Jail;

        Deputy Chad Miller currently serves on the Medford City Council;

        Deputy Kolkemo did not complete a use of force report regarding his physical contact

with Plaintiff in the Jail;

        The Jackson County District Attorney’s Office referred Sergeant Proulx’s criminal

investigation to the Klamath County District Attorney’s Office, for its independent review and

prosecutorial decisions relating to Brian Kolkemo; and

        Plaintiff filed the instant lawsuit in January 2020.

        With regard to the remainder of Paragraphs 107 through 145, to the extent any legal

conclusions or factual allegations are made therein, County Defendants are without information

or knowledge sufficient to form a belief and therefore deny the same.

                                                 11.

             COUNTY DEFENDANTS’ RESPONSE TO CLAIMS FOR RELIEF

                                                 12.

        With Regard to Plaintiff’s First Claim for Relief, Paragraphs 146, 147, 148, 149, 150,

151, 152, 153, 154, 155, 156, 157, 158, and 159 County Defendants are without knowledge or

information sufficient to form a belief as to the truth of the allegations. Therefore, to the extent


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legal conclusions or factual allegations are made therein, County Defendants deny the same.

                                                  13.

        With regard to Plaintiff’s Second Claim for Relief, Paragraphs 160, 161, 162 163, 164,

165, 166, 167, and 168, County Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations. Therefore, to the extent legal conclusions or

factual allegations are made therein, County Defendants deny the same.

                                                  14.

        With regard to Plaintiff’s Third Claim for Relief, Paragraphs 169, 170, 171, 172, 173,

174, 175, 176, 177, 178 and 179, County Defendants are without knowledge or information

sufficient to form a belief as to the truth of the allegations. Therefore, to the extent legal

conclusions or factual allegations are made therein, County Defendants deny the same.

                                                  15.

        With regard to Plaintiff’s Fourth Claim for Relief, Paragraphs 180, 181, 182, 183, 184,

185, 186, 187, 188, and 189, County Defendants are without knowledge or information sufficient

to form a belief as to the truth of the allegations. Therefore, to the extent legal conclusions or

factual allegations are made therein, County Defendants deny the same.

                                                  16.

        With regard to Plaintiff’s Fifth Claim for Relief, Paragraphs 190, 191, 192, 193, 194,

195, 196, 197, and 198 County Defendants are without knowledge or information sufficient to

form a belief as to the truth of the allegations. Therefore, to the extent legal conclusions or

factual allegations are made therein, County Defendants deny the same.




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                                                   17.

       With regard to Plaintiff’s Sixth Claim for Relief, Paragraphs 199, 200, 201, 202, and 203,

County Defendants are without knowledge or information sufficient to form a belief as to the

truth of the allegations. Therefore, to the extent legal conclusions or factual allegations are made

therein, County Defendants deny the same.

                                                   18.

       With regard to Plaintiff’s Seventh Claim for Relief, Paragraphs 204, 205, 206, 207, 208,

209, 210, and 211, County Defendants are without knowledge or information sufficient to form a

belief as to the truth of the allegations. Therefore, to the extent legal conclusions or factual

allegations are made therein, County Defendants deny the same.

                                                   19.

                               FIRST AFFIRMATIVE DEFENSE

       For further answer and first affirmative defense, to the extent Plaintiff asserts claims

against County Defendants under 42 U.S.C. § 1983, the rights of which Plaintiff alleges John

Lee Malaer was deprived were not clearly established and/or violated in bad faith, and thus,

County Defendants have qualified immunity from damages arising from such claims and with

respect to any litigation involving such claims.

                                                   20.

                             SECOND AFFIRMATIVE DEFENSE

       For further answer and second affirmative defense, County Defendants are entitled to

statutory immunity pursuant to ORS 30.265(5) to the extent Plaintiff asserted claims which arise

from an act or omission of an officer, employee or agent of Jackson County, when such officer,


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employee or agent was immune from liability.

                                                21.

                              THIRD AFFIRMATIVE DEFENSE

       For further answer and third affirmative defense, County Defendants are entitled to

statutory immunity pursuant to ORS 30.265(6) to the extent Plaintiff asserted claims based upon

the performance of or the failure to exercise or perform a discretionary function or duty.

                                                22.

                            FOURTH AFFIRMATIVE DEFENSE

       For further answer and fourth affirmative defense, County Defendants’ liability to

Plaintiff is limited by ORS 30.260 to 30.300.

                                                23.

                              FIFTH AFFIRMATIVE DEFENSE

        For further answer and fifth affirmative defense, providing accommodation(s) to

Plaintiff would impose an undue hardship on the operation of the Jail.

                                                24.

                              SIXTH AFFIRMATIVE DEFENSE

        For further answer and sixth affirmative defense, County Defendants allege that any use

of force by Brian Kolkemo was justified and reasonable under the circumstances.

                                                25.

                            SEVENTH AFFIRMATIVE DEFENSE

        For further answer and seventh affirmative defense, Plaintiff has failed to provide an

appropriate or timely tort claims notice.


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                                                 26.

                             EIGHTH AFFIRMATIVE DEFENSE

        For further answer and eighth affirmative defense, to the extent Plaintiff’s claims are

based on the doctrine of respondeat superior, such claims are barred because the doctrine of

respondeat superior is not a basis for recovery under 42 U.S.C. § 1983.

                                                 27.

                              NINTH AFFIRMATIVE DEFENSE

       For further answer and ninth affirmative defense, to the extent Plaintiffs asserted claims

against County Defendants under a theory of negligence, Plaintiff was contributorily and

comparatively negligent, Plaintiff is not entitled to recovery from County Defendants, and to the

extent he is entitled to a recovery from County Defendants that amount is subject to reduction.

Any injury suffered by Plaintiff was caused by his own negligence in one or more of the

following particulars:

       A.      In failing to follow the instructions of Medford law enforcement officers;

       B.      In resisting arrest by Medford law enforcement officers;

       C.      In failing to follow the instructions of Jail deputies;

       D.      In refusing to participate in the intake process, to include medical screening;

       E.      In his degree of intoxication in public, refusal to comply with ORS 430.399, and

               disorderly conduct per ORS 166.025(1)(d).

                                                 28.

                              TENTH AFFIRMATIVE DEFENSE

       For further answer and tenth affirmative defense, Plaintiff’s alleged damages, if any,


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were caused in whole or in part by the acts and omissions of third parties over whom County

Defendants had no control.

                                                29.

                            ELEVENTH AFFIRMATIVE DEFENSE

       For further answer and eleventh affirmative defense, any damages suffered by Plaintiff

were not the direct and proximate result of County Defendants’ actions.

                                                30.

                            TWELFTH AFFIRMATIVE DEFENSE

         For further answer and twelfth affirmative defense, as to each claim against each County

Defendant, County Defendants allege that Plaintiff has failed to commence this action within the

time permitted by law. Plaintiff’s claims are therefore barred in whole or in part by the

applicable statute of limitations.

                                                31.

                          THIRTEENTH AFFIRMATIVE DEFENSE

   For further answer and thirteenth affirmative defense, County Defendants allege Plaintiff’s

 alleged injuries and/or damages are the result of one or more superseding/intervening cause(s).

                                                32.

                              FOURTEENTH AFFIRMATIVE DEFENSE

       For further answer and fourteenth affirmative defense, County Defendants allege that

Plaintiff’s damages, if any, were caused by and contributed to by his failure to mitigate those

damages.




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                                                 33.

       County Defendants cannot fully anticipate all the affirmative defenses that may be

applicable to this action, and accordingly reserve the right to assert additional affirmative

defenses as the discovery and investigation proceeds.

                                                 34.

       To the extent that any allegations in Plaintiff’s Complaint are not addressed above, they

are denied.



       WHEREFORE, having fully answered Plaintiff’s Complaint, County Defendants

respectfully pray that judgment be entered in their favor and that they receive an award of their

costs, disbursements, and attorney’s fees incurred herein, and any other remedy the court deems

just and proper.



DATED: September 21, 2023.



                                                       / s / Johan Pietila
                                                       JOHAN PIETILA, OSB #151373
                                                       Pietiljr@jacksoncounty.org
                                                       Attorney for County Defendants


                                                       / s / Brett Baumann                  BRETT
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                                 CERTIFICATE OF SERVICE

               I hereby certify that on September 21, 2023, the foregoing COUNTY

DEFENDANTS’ AMENDED ANSWER TO SECOND AMENDED COMPLAINT was served

on all parties by electronic means through the Court’s Electronic Case File System. Plaintiff’s

attorneys were also served by first class mail at the following address:


Alicia LeDuc Montgomery
2210 W Main Street, Suite 107 #328
Battle Ground WA, 98604

Michelle R. Burrows
16869 SW 65th Ave. #367
Lake Oswego, Oregon 97035



DATED: September 21, 2023:



                                                     / s / Johan Pietila
                                                     Johan Pietila, OSB #151373
                                                     (541)774-6160
                                                     Attorney for County Defendants


                                                     / s / Brett A. Baumann
                                                     Brett Baumann, OSB #085947
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